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      SO. CAL. EQUAL ACCESS GROUP
 1    Jason J. Kim (SBN 190246)
      Jason Yoon (SBN 306137)
 2    101 S. Western Ave., Second Floor
      Los Angeles, CA 90004
 3    Telephone: (213) 252-8008
      Facsimile: (213) 252-8009
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      scalequalaccess@yahoo.com
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 6    Attorneys for Plaintiff
      SUNG CHOI
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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
11    SUNG CHOI,                                        Case No.: 2:20-cv-05032 VAP (JPRx)

12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF DEFENDANT
14                                                      D’EGIDIO BROTHERS IV, LLC
      MARGARITAS MEXICAN GRILL, INC.;
15    D’EGIDIO BROTHERS IV, LLC; and
16    DOES 1 through 10,
                   Defendants.
17
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19
            PLEASE TAKE NOTICE that Plaintiff SUNG CHOI (“Plaintiff”) pursuant to
20
      Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses Defendant
21
      D’EGIDIO BROTHERS IV, LLC (“Defendant”) pursuant to Federal Rule of Civil
22
      Procedure Rule 41(a)(1) which provides in relevant part:
23
            (a) Voluntary Dismissal.
24
25                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66

26                        and any applicable federal statute, the plaintiff may dismiss an action
27                        without a court order by filing:
28


                                                    1
                         NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
     Case 2:20-cv-05032-VAP-JPR Document 19 Filed 02/11/21 Page 2 of 2 Page ID #:74




 1                      (i)    A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 4    judgment. Accordingly, Defendant may be dismissed without an Order of the Court.
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 6
 7
 8    DATED: February 11, 2021       SO. CAL. EQUAL ACCESS GROUP
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10                                   By:      /s/ Jason J. Kim
11                                         Jason J. Kim
12                                         Attorneys for Plaintiff
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                      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
